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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

 WILMINGTON SAVINGS FUND
 SOCIETY, FSB,

        Plaintiff,                                  Case No.: 8:15-cv-02831-T-36TGW

 vs

 BUSINESS LAW GROUP, P.A., et. al.,

        Defendants.
                                             /

                   PLAINTIFF’S RESPONSE IN OPPOSITION TO
             DEFENDANTS’ MOTION TO SEAL DEPOSITION TRANSCRIPT

        Plaintiff, individually and on behalf of those similarly situated, opposes the Motion to

 Seal the Deposition Transcript of Joshua Donham, as Corporate Representative of LM Funding,

 LLC and Business Law Group, P.A. and Confidential Exhibits (Doc. 88; the “Motion to Seal”)

 because Defendants, LM Funding, LLC (“LMF”), Business Law Group, P.A. (“BLG”), and

 Bruce Rogers, failed to provide the Court with any evidence that the materials they want filed are

 confidential. Consequently, without any such evidence, the Court must deny the Motion to Seal.

                                   SUMMARY OF ARGUMENT

        In the trial courts of the Eleventh Circuit, when a party seeks to seal a document in the

 court record that will be filed in connection with a substantive pretrial motion that requires a

 judicial resolution of the merits – such as a motion for class certification, as is the case here – the

 moving party must overcome the common law right of access to judicial proceedings with a

 showing of good cause supporting the seal. In the Middle District of Florida, when a party

 seeks to seal a document, in addition to overcoming the common law right of access to judicial

 proceedings, it must also satisfy the requirements of Local Rule 1.09.
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        If the moving party requests a seal over documents that it asserts contain confidential,

 proprietary, or trade secret information, if the moving party does not file any evidence

 supporting these assertions, it fails to demonstrate good cause. Consequently, in such a

 situation, the motion to seal must be denied.

        That is the situation that the Court is presented with here. In the Motion to Seal,

 Defendants request that the Court permit the filing of the entire transcript of the deposition of

 their corporate representative and two exhibits attached to the deposition. Defendants argue that

 the testimony and the documents contain confidential and proprietary information.          While

 Defendants attempt to satisfy Local Rule 1.09, they failed to overcome the common law right of

 access to judicial proceedings because they filed no evidence supporting its conclusory

 assertions that the transcript and the exhibits are confidential, proprietary, and contain

 trade secrets.

        Furthermore, Defendants have failed to take reasonable efforts to maintain and protect

 some of the documents they now claim are confidential. Many of the same, similar documents at

 issue here, such as the Delinquent Assessment Proceeds Purchase Agreement discussed below,

 have been filed in the public record in other ongoing litigation, without any effort by Defendants

 to protect them. These documents are already generally known or readily accessible to third

 parties. Therefore, the Court must deny the Motion to Seal.

                  BACKGROUND RELEVANT TO THE MOTION TO SEAL

        Plaintiff and Defendants are parties to a Confidentiality Agreement to (1) expedite

 discovery and (2) protect the parties’ confidential information.         See Exhibit 1.       The

 Confidentiality Agreement permits a party to designate documents produced in discovery and

 deposition testimony as “confidential.” See id. at ¶¶ 3-4. Before making a confidentiality




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 designation, the designating party must “believe in good faith” that the material is confidential.

 See id. at ¶ 1. Depositions are deemed confidential for the first 14 days after the transcript is

 received. See id. at ¶ 3. The Confidentiality Agreement includes a specific procedure governing

 the filing of discovery materials that have been designated as confidential:

                Any party wishing to file with the Court deposition exhibits, produced
        materials, answers to interrogatories or requests for admissions, pleadings, and
        other documents that have been duly designated by any of the parties as
        “Confidential” or “Highly Confidential” or pleadings and memoranda purporting
        to reproduce, quote, summarize, paraphrase, or otherwise disclose such
        confidential information, shall provide seven (7) calendar days written notice
        to the designating party of the information or documents to be disclosed and
        the particularized need to file said material to allow the designating party to
        seek entry of an order prohibiting the filing or permitting the filing only
        under seal, and shall not file such materials until seven (7) calendar days have
        passed without the designating party filing its motion, or if such motion is filed,
        until three (3) business days after the Court has ruled on the motion, unless the
        Court has permitted filing under seal. No party shall file a document under seal
        without first having obtained an order granting leave to file under seal on a
        showing of particularized need.

 See id. at ¶ 5 (emphasis supplied).

        Therefore, under the Confidentiality Agreement, if the party producing a document or

 testimony designates it confidential, and the receiving party wishes to file the purportedly

 confidential material, the receiving party must notify the designating party. At that point, the

 burden is on the party designating the information as confidential to file a motion to seal if it

 wishes to maintain the confidentiality designation.       This procedure makes practical sense

 because, as the party designating material confidential, it presumably understands why the

 material is confidential and can articulate that to the court in the motion to seal. Otherwise, the

 party receiving confidential material may be put in the awkward position of having to file a

 motion to seal a document that it knows nothing about, including why it has been designated

 confidential. See L.R. 1.09 (describing the burden that must be met by a party requesting that a

 document be filed under seal); Capsmith, Inc v. Wysopal, No. 6:07-cv-1572-Orl-22KRS, 2009


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 WL 277075, *1 (M.D. Fla. Feb. 5, 2009) (“It is, however, the burden of the party asserting the

 protection to establish that a document should be filed under seal, not the opposing party who

 wishes to rely on the document.”).

        On June 29, 2016, Plaintiff took the deposition of Defendants’ corporate representative,

 Joshua Donham. During the deposition, Defendants designated all of Mr. Donham’s testimony

 as confidential under the Confidentiality Agreement.

        In a July 27, 2016 email, Plaintiff gave notice to Defendants that in connection with

 Plaintiff’s forthcoming motions to compel and supplementing the record on the pending Motion

 for Class Certification (Doc. 32), it intended to file the transcript of Mr. Donham’s deposition

 and two exhibits marked at the deposition (a Delinquent Assessment Proceeds Purchase

 Agreement and an Owner List).         See Exhibit 2.    Consequently, under the terms of the

 Confidentiality Agreement, Defendants had 7 days in which to file a motion to seal Mr.

 Donham’s deposition transcript and the exhibits if they wished to maintain their confidentiality

 designations.

        In a response email dated July 27, 2016, Defendants designated portions of Mr.

 Donham’s testimony as confidential based on their assertions that the testimony discussed

 confidential documents, internal business practices, or a sensitive proprietary database. See

 Exhibit 3. Defendants offered nothing to support these cryptic descriptions of Mr. Donham’s

 purportedly confidential testimony.    Defendants also took the position that the Delinquent

 Assessment Proceeds Purchase Agreement and the Owner List were confidential. See Exhibit 4.

        Thereafter, Plaintiff filed two motions to compel (Docs. 86 and 87) that rely, in part, on

 Mr. Donham’s testimony and the exhibits. Because Defendants had designated these materials

 confidential, Plaintiff could not file them with the motions to compel. See Doc. 86 at Exh. 5;




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 Doc. 87 at Exh. 3. In addition, under the current case management deadlines, Plaintiff has a

 deadline of August 29, 2016 in which to supplement its Motion for Class Certification. See

 Endorsed Order at Doc. 77. At that time, because Plaintiff will rely on Mr. Donham’s testimony

 to support its Motion for Class Certification, Plaintiff intends to file the transcript at that time

 (under seal if required, not under seal if the Motion to Seal is denied).

        On August 3, 2016, Defendants filed the Motion to Seal. Defendants did so timely under

 the Confidentiality Agreement. Surprisingly, although Defendants only designated portions of

 Mr. Donham’s testimony as confidential, see Exh. 3, in the Motion to Seal, Defendants ask the

 Court to permit them to file the entire transcript under seal – without articulating which

 portions of the transcript they consider confidential. Defendants request that the transcript be

 sealed because “confidential information regarding LMF and BLG’s business practices,

 proprietary software, trade secrets, and non-party clients will be disclosed to not only

 competitors in the niche market that Defendants serve, but also to adverse non-party debtors.”

 Motion to Seal at p. 5 (emphasis supplied). Defendants argue that the Delinquent Assessment

 Proceeds Purchase Agreement “must be sealed because, if publicly filed, confidential

 information going to the heart of LMF’s business practices will be made publicly available,” and

 argue that the Owner List “represents confidential information obtained from a law firm

 regarding debtors to whom BLG has sent correspondence.” See id. at pp. 5-6.

        Notably, however, although Defendants quote Local Rule 1.09, they provide no evidence

 to support its cryptic and conclusory assertions that the deposition testimony and the

 exhibits are “confidential.” Without such evidence, the Court has no way to determine whether

 there is good cause to seal the documents because doing so would limit the common law right of

 access to judicial proceedings. Therefore, the Court must deny the Motion to Seal.




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                                      LEGAL STANDARD

        “The operations of the courts and the judicial conduct of judges are matters of utmost

 public concern.”    Landmark Comm’ns, Inc. v. Virginia, 435 U.S. 829, 839 (1978).             “The

 common-law right of access to judicial proceedings, an essential component of our system of

 justice, is instrumental in securing the integrity of the process.”      Chicago Tribune Co. v.

 Bridgestone/Firestone, Inc., 263 F.3d 1304, 1311 (11th Cir. 2001). “Beyond establishing a

 general presumption that criminal and civil actions should be conducted publicly, the common-

 law right of access includes the right to inspect and copy public records and documents.” Id.

 The common law right of access applies to “material filed in connection with pretrial motions

 that require judicial resolution of the merits.” Id. at 1312. This includes motions for class

 certification. See, e.g., Schojan v. Papa John’s Int’l, Inc., No. 8:14-cv-1218-T-33MAP, 2014

 WL 4674340, *1 (M.D. Fla. Sept. 18, 2014) (denying motion to seal motion for class

 certification based on the common law right of access to judicial proceedings).

        The common law right of access is not absolute, however, and may be overcome based

 on a showing of good cause. Romero v. Drummond Co., Inc., 480 F.3d 1234, 1245 (11th Cir.

 2007). To determine if there is good cause, a court must balance the asserted right of public

 access against the opposing party’s interest in keeping the information confidential. Id. at 1246.

 “In balancing the public interest in accessing court documents against a party’s interest in

 keeping the information confidential, courts consider, among other factors, whether allowing

 access would impair court functions or harm legitimate privacy interests, the degree of and

 likelihood of injury if made public, the reliability of the information, whether there will be an

 opportunity to respond to the information, whether the information concerns public officials or

 public concerns, and the availability of a less onerous alternative to sealing the documents.” Id.




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        With respect to motions to seal, it “is the burden of the party seeking the protection to

 establish that the document should be filed under seal.” F.T.C. v. Alcoholism Cure Corp., No.

 3:10-cv-266-J-34TEM, 2010 WL 4840046, *4 (M.D. Fla. Nov. 23, 2010).

        Importantly, a motion to seal asserting that documents should be sealed because they are

 confidential must include evidence supporting those assertions. Without such evidence, a motion

 to seal must be denied. Diaz-Granados v. Wright Med. Tech., Inc., 6:14-cv-1953-Orl-28TBS,

 2016 WL 1090060, *3 (M.D. Fla. March 21, 2016) (“Defendant has not presented any evidence

 to support its general claim that the information in the deposition transcripts is confidential.

 Consequently, the good cause requirement has not been satisfied and the motion to seal is

 DENIED.”); Barkley v. Pizza Hut of Am., Inc., No. 6:14-cv-376-Orl-37DAB, 2015 WL 5915817,

 *3 (M.D. Fla. Oct. 8, 2015); Capsmith, 2009 WL 277075 at *1; Horowitch v. Diamond Aircraft

 Indus., Inc., No. 6:06-cv-1703-Orl-19KRS, 2007 WL 1753066, *2 (M.D. Fla. June 16, 2007).

        With respect to purported “trade secrets,” the burden of demonstrating the elements of a

 trade secret is on the party seeking to protect the information. American Red Cross v. Palm

 Beach Blood Bank, Inc., 143 F.3d 1407, 1410 (11th Cir. 1998) (citing § 688.002(4), Fla. Stat.).

 “Information that is generally known or readily accessible to third parties cannot qualify for trade

 secret protection.” Id.; see also Ruckelshaus v. Monsanto Co., 467 U.S. 986, 1002 (1984) (“If an

 individual discloses his trade secret to others who are under no obligation to protect the

 confidentiality of the information, or otherwise publicly discloses the secret, his property right

 is extinguished.”) (citations omitted; emphasis added).

        In American Red Cross, in attempting to establish that a customer list was a trade secret,

 the court concluded that the plaintiff was not “particularly careful to protect the secrecy of its

 lists of names” and that the employment agreements did not protect the identities of its donors.




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 American Red Cross, 143 F.3d at 1410. Similarly, in GPS Indus., LLC v. Lewis, 691 F. Supp. 2d

 1327, 1335 (M.D. Fla. 2010), the court concluded that the plaintiff’s business plans were not

 trade secrets because it failed to show that they derive economic value from not being readily

 ascertainable by others, or that they were the subject of reasonable efforts to maintain their

 secrecy.

         Moreover, sharing information with others is evidence of a failure to take reasonable

 efforts to maintain secrecy. See Liberty Am. Ins. Group, Inc. v. WestPoint Underwriters, L.L.C.,

 199 F. Supp. 2d 1271, 1287 (M.D. Fla. 2001) (“because of the public nature of the information

 contained in the park list and park data file, Plaintiffs cannot contend that this information was

 the subject of secrecy” because “Plaintiffs shared their park list and park data file with others”;

 “As such, Plaintiffs cannot maintain that they took reasonable efforts to protect the secrecy of

 their park list and park data file.”).

         Further, the failure to identify a document as “confidential” on its face is further evidence

 of a failure to take reasonable efforts to maintain its secrecy. See Sepro Corp. v. Florida Dept. of

 Envtl. Prot., 839 So. 2d 781, 784 (Fla. 1st DCA 2003); In re Maxxim Med. Group, Inc., 434 B.R.

 660, 691-692 (Bankr. M.D. Fla. 2010) (“neither the trays nor the bills of material were ever

 marked confidential and there were no restrictions placed on the hospital’s distribution of trays

 or bills of material”; “The fact that Maxxim took no measures to protect this alleged secret

 demonstrates that Maxxim never had such a belief and that Maxxim never considered this

 information to be ‘secret.’”)

         Further, Rule 1.09 of the Local Rules for the Middle District of Florida provides that a

 party seeking to file a motion under seal must include in the motion (1) why filing the item is

 necessary, (2) why the seal is necessary, (3) why a means other than sealing is unavailable or




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 unsatisfactory to preserve the moving party’s interest in the seal, (4) the proposed duration of the

 seal, and (5) a memorandum of legal authority supporting the seal. L.R. 1.09(a).

        When ruling on a motion to seal, in addition to determining whether the party has

 complied with Local Rule 1.09(a), the Court must consider the common law right of the public to

 access judicial records. See Barkley, 2015 WL 5915817 at *2 (citing In re Alexander Grant &

 Co. Litig., 820 F.2d 352, 355 (11th Cir. 1987)); Shamblin v. Obama for Am., No. 8:13-cv-2428-

 T-33TBM, 2014 WL 6611006, *2 (M.D. Fla. Nov. 21, 2014) (“In addition to the technical

 requirements of the Court’s Local Rules, the law of the Eleventh Circuit requires a strong

 showing by the proponent of a motion to seal before the Court will deny public access to judicial

 proceedings.”).

        Finally, although the parties may have a confidentiality agreement, such an agreement

 does not by itself authorize a motion to seal documents designated confidential. Johnson &

 Johnson Vision Care, Inc. v. CIBA Vision Corp., No. 3:03-cv-800-J-99TEM, 2005 WL 2063785,

 *7 (M.D. Fla. Aug. 18, 2005) (“whether documents may be filed under seal is a separate issue

 from whether the parties may agree that the documents are confidential”); RES Dev. Corp. v.

 Momentive Performance Materials, Inc., No. 5:09-cv-491-Oc-32JBT, 2011 WL 2618895, *2

 (M.D. Fla. July 1, 2011) (“While the Court recognizes that the parties agreed to the Stipulated

 Protective Order. . . , the Court reminds the parties that whether documents may be filed under

 seal is a separate issue from whether the parties may agree that produced documents are

 confidential.”); Dees v. Hydradry, Inc., 706 F. Supp. 2d 1227, 1246 (M.D. Fla. 2010) (“The

 parties’ stipulation to seal the [compromise] agreement (and the absence of a third-party

 objection to the sealing the compromise agreement) fails to justify a seal.”).




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                                                                 ARGUMENT

                In the Motion to Seal, Defendants argue that Mr. Donham’s testimony deals with

  “sensitive issues such as the internal business practices of LMF and BLG, proprietary software

  developed to support these practices, and documents containing information related to non-party

  debtors.” Motion to Seal at p. 2. Defendants also argue that Mr. Donham’s testimony contains

  “confidential information regarding LMF and BLG’s business practices, proprietary software,

  trade secrets.” Id. at p. 5. Defendants argue that because the Delinquent Assessment Proceeds

  Purchase Agreement “is a customized document going to the heart of LMF’s business

  operations” and the Owner List “contains debtor information gleaned from a collecting law

  firm’s files,” the documents are “highly sensitive.” Id. at p. 2.

                Defendants acknowledge that the common law right of access applies here, and that they

  must overcome that right by showing good cause. Id. at p. 9.1 Defendants argue, however, that

  they have established good cause based on their bare assertions that the transcript, the Delinquent

  Assessment Proceeds Purchase Agreement, and the Owner List contain confidential information.

                They have not because, significantly, Defendants filed no evidence to support their

  arguments that these materials are confidential, are proprietary, or contain trade secrets. Because

  Defendants have merely offered general and conclusory statements that the transcript,

  Delinquent Assessment Proceeds Purchase Agreement, and Owner List contain “confidential

                                                              
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    Although Defendants argue that the common law right of access would not apply to the Motion
  to Seal with respect to Plaintiff’s request to file the transcript, Delinquent Assessment Proceeds
  Purchase Agreement, and Owner List in connection with its Motions to Compel, see Motion to
  Seal at 8, because Plaintiff also seeks to file the transcript, Delinquent Assessment Proceeds
  Purchase Agreement, and Owner List in support of its Motion for Class Certification, this
  distinction is irrelevant and a moot point. Because Plaintiff seeks to file these materials in
  support of its Motion for Class Certification, the common law right of access to judicial
  proceedings applies here, which Defendants cannot overcome without demonstrating good cause.
  See Schojan, 2014 WL 4674340 at * 2.


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  information,” Defendants have not demonstrated the good cause necessary to overcome the

  common law right of access to judicial records. See Diaz-Granados, 2016 WL 1090060 at *3

  (denying motion to seal because the defendant did not presented any evidence that deposition

  transcripts were confidential); see also Barkley, 2015 WL 5915817 at *3; Capsmith, 2009 WL

  277075 at *1; Horowitch, 2007 WL 1753066 at *2. In addition, the fact that Plaintiff and

  Defendants have a confidentiality agreement does not warrant a seal. See Johnson & Johnson

  Vision Care, 2005 WL 2063785 at *7; RES Development Corp., 2011 WL 2618895 at *2; Dees,

  706 F. Supp. 2d at 1246.

         Specifically, with respect to Defendants’ argument that Mr. Donham’s testimony contains

  “confidential” information about Defendants’ “business practices, proprietary software, [and]

  trade secrets,” Defendants supplied no evidence to support these bare assertions. When seeking

  protection for confidential records and purported trade secrets, as the Eleventh Circuit has made

  clear, the burden was on Defendants to demonstrate that these materials constitute trade secrets

  and are confidential. See American Red Cross, 143 F.3d at 1410. By filing no evidence

  whatsoever to support its conclusory assertions, Defendants have not met their burden.

  Therefore, the Court must deny the Motion to Seal.

         Furthermore, with respect to the Delinquent Assessment Proceeds Purchase Agreement,

  on at least 4 separate occasions, substantially similar purchase agreements that LMF has entered

  into that relate to other properties have been filed in the public records of Florida’s state and

  federal courts – apparently without any attempts by Defendants to maintain their confidentiality

  or file them under seal.

         First, in Solaris at Brickell Bay Condo Associations, Inc. v. LM Funding, LLC, No. 2014-

  20043-CA-01 (40) (Fla. 11th Jud. Cir. Ct.), a class action case pending in Miami-Dade County,




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  Florida, the Second Amended Class Action Complaint, dated April 29, 2015, attached a

  “Delinquent Assessment Proceeds Purchase Agreement” as an exhibit.                Notably, this

  “Delinquent Assessment Proceeds Purchase Agreement” is substantially similar to the agreement

  claimed confidential here in the Motion to Seal. See Exhibit 5 (Second Amended Complaint at ¶

  78 and Exh. B [“LM Funding, LLC Delinquent Assessment Proceeds Purchase Agreement,”

  dated August 4, 2011]).

         Second, in an action pending in Pasco County, Florida, Glendale Villas Condominium

  Association, Inc. v. AGM Investors, LLC, No. 51-2012-CA-003687 (Fla. 6th Jud. Cir. Ct.), an

  affidavit was filed in the case that attaches a substantially similar “Delinquent Assets Purchase

  Agreement,” yet no motion to seal appears to have been filed. See Exhibit 6 (Affidavit of

  Anthony Marsella at ¶ 6 and Exh. C [“LM Funding, LLC Delinquent Assessment Proceeds

  Purchase Agreement,” dated November 19, 2008]).

         Third, in The Grand Reserve Condominiums Association at Tampa, Inc. v. LM Funding,

  LLC, No. 8:13-ap-00720-CPM (Bankr. M.D. Fla.), the Notice of Filing Affidavit of Sean D.

  Galaris, dated September 26, 2013, attaches a substantially similar “Delinquent Assessments

  Proceeds Purchase Agreement” without any corresponding motion to seal. Mr. Galaris testified

  that he is the president of LMF. See PACER case docket at Docs. 13 and 13-1 (Affidavit of Sean

  D. Galaris at ¶¶ 3-6 and Exh. A [“LM Funding, LLC Delinquent Assessment Proceeds Purchase

  Agreement,” dated January 22, 2009]). This same Delinquent Assessment Proceeds Purchase

  Agreement regarding the Grand Reserve Condominiums property was also filed in the

  corresponding bankruptcy action, In re The Grand Reserve Condominiums Association at

  Tampa, Inc., No. 8:13-bk-07406-CPM (Bankr. M.D. Fla.), as an exhibit to a motion called

  “Debtor’s Motion for Authority to Reject Executory Contracts with LM Funding, LLC,” dated




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  June 5, 2013, again without any corresponding motion to seal. See PACER case docket at Doc.

  8 (Debtor’s Motion for Authority to Reject Executory Contracts with LM Funding, LLC at ¶ 6(a)

  and Exh. A [“LM Funding, LLC Delinquent Assessment Proceeds Purchase Agreement,” dated

  January 22, 2009]).

         Fourth, in an action pending before this Court, Kamra v. Business Law Group, P.A., No.

  8:16-cv-786-T-36TBM, the Class Action Complaint and Demand for Jury Trial, dated March 31,

  2016, attaches a substantially similar “Purchase Agreement,” yet no motion to seal was filed in

  that case. See PACER case docket at Doc. 2 (Class Action Complaint and Demand for Jury Trial

  at ¶ 29 and Exh. B [“LM Funding, LLC Delinquent Assessment Proceeds Purchase Agreement,”

  dated November 18, 2011]).

         Notably, in each of these cases, Defendants failed to take any action to protect this

  purportedly confidential Delinquent Assessment Proceeds Purchase Agreement which,

  Defendants argued in the Motion to Seal, would cause “significant financial harm” if it were

  publicly available. As is clear, documents substantially similar to the Delinquent Assessment

  Proceeds Purchase Agreement that Defendants are attempting to seal are generally known or

  readily accessible to third parties because they have been publicly disseminated in court filings in

  other cases. Therefore, Defendants have not engaged in reasonable efforts to maintain their

  secrecy, which contravenes their arguments that the Delinquent Assessment Proceeds Purchase

  Agreement is confidential.

         In sum, it was Defendants’ burden to establish that these materials should be filed under

  seal. Because they failed to demonstrate the necessary good cause, the Court must deny the

  Motion to Seal.




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                                        CONCLUSION

         Defendants have not supplied the Court with any evidence to support its bare arguments

  that the Donham transcript, the Delinquent Assessment Proceeds Purchase Agreement, and the

  Owner List are confidential and must be sealed. Consequently, the Court should deny the

  Motion to Seal.




                     [Attorney’s signature appears on the following page.]




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                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on August 22, 2016, I electronically filed the foregoing with

  the Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to

  all CM/ECF participants.

                                                     /s/ J. Daniel Clark
                                                     Attorney




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